                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN ANTHONY GENTRY                            )
                                               )
       v.                                      )       NO. 3:17-0020
                                               )
THE TENNESSEE BOARD OF                         )
JUDICIAL CONDUCT, et al.                       )

                                             ORDER
       Presently pending is a motion to dismiss (Docket Entry No. 22) filed by the State of

Tennessee, the Tennessee Board of Judicial Conduct, Judge Chris Craft, and Timothy R. Discenza.
       Plaintiff shall have until March 31, 2017, to file a response to the motion to dismiss. Plaintiff

is advised that his failure to timely file a response may result in a Recommendation to the District

Judge that this lawsuit be dismissed in whole or in part.

       It is SO ORDERED.




                                                       BARBARA D. HOLMES
                                                       United States Magistrate Judge




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